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SO ORDERED.

SIGNED this 15 day of January, 2019.




                                                    John T. Laney, III
                                           United States Bankruptcy Judge



                   UNITED STATES BANKRUPTCY COURT
                     MIDDLE DISTRICT OF GEORGIA
IN RE:                                                               CHAPTER 11

Ricky Wayne Tucker


DEBTOR                                                                 CASE NO. 18-70448 jtl

    ORDER APPROVING DISCLOSURE STATEMENT, FIXING TIME
    FOR FILING ACCEPTANCE OR REJECTION OF THE PLAN OF
REORGANIZATION AND FIXING DATE FOR HEARING ON CONFIRMATION
              COMBINED WITH NOTICE THEREOF

       A Disclosure Statement under Chapter 11 of the Bankruptcy Code having been filed by the
debtor(s) on November 27, 2018, , and the Court, after notice and hearing, having determined that
the Disclosure Statement filed with the Court on November 27, 2018, contain "adequate
information" as that term is defined in 11 U.S.C. § 1125;

         IT IS THEREFORE ORDERED;

       That the Disclosure Statement filed with the Court on November 27, 2018, be and the same
hereby is approved;

        That the debtor and parties in interest may now solicit acceptance or rejection of the debtor's
Plan of Reorganization pursuant to 11 U.S.C. § 1125;


      That on or before January 22, 2019, the debtor's attorney shall transmit the following by
mail with adequate postage to creditors, equity security holders, and all other parties as directed by
Bankruptcy Rule 3017:
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                  1.      the plan or a Court approved summary of the plan;
                  2.      the disclosure statement approved by the Court;
                  3.      a ballot that conforms to Official Form 314; and
                  4.      a copy of this order.

           That a certificate of service shall be filed with the Court upon completion of service;

        That all ballots accepting or rejecting the plan shall be filed with this Court directly by the
voting creditors and equity security holders. Voting creditors and equity security holders should file
their ballots via ECF or via physical delivery (such as mail to U.S. Bankruptcy Court, P.O. Box 2147,
Columbus, GA 31902 or by courier to the U.S. Bankruptcy Court at 901 Front Avenue, Ste. 310,
Columbus, GA 31901). Ballots shall be filed on or before March 11, 2019;

       That any objection to confirmation of the Plan shall be filed with the Court on or before March
11, 2019;

       That a hearing for the consideration of confirmation of the Plan and any objections to
confirmation of the Plan will be held on March 14,2019 at 2:00 p.m. in U.S. Bankruptcy Court, 901
Front Avenue, One Arsenal Place Columbus GA 31901.


                                          END OF DOCUMENT




 Created 3/3/17
